

Matter of Hornsby (2025 NY Slip Op 02399)





Matter of Hornsby


2025 NY Slip Op 02399


Decided on April 24, 2025


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:April 24, 2025

PM-99-25
[*1]In the Matter of Abigail Helen Hornsby, an Attorney. (Attorney Registration No. 5956792.)

Calendar Date:April 21, 2025

Before:Garry, P.J., Egan Jr., Pritzker, Lynch and Mackey, JJ.

Abigail Helen Hornsby, Madison, Tennessee, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Abigail Helen Hornsby was admitted to practice by this Court in 2022 and lists a business address in Nashville, Tennessee with the Office of Court Administration. Hornsby has applied to this Court, by affidavit sworn to January 17, 2025, for leave to resign from the New York bar for nondisciplinary reasons (see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) opposes the application, contending that Hornsby is ineligible for nondisciplinary resignation because she has failed to fulfill her attorney registration requirements for the 2024-2025 biennial period (see Judiciary Law § 468-a; Matter of Lee, 148 AD3d 1350, 1350 [3d Dept 2017]; Matter of Bomba, 146 AD3d 1226, 1226-1227 [3d Dept 2017]; Rules of Chief Admr of Cts [22 NYCRR] § 118.1).
In reply to AGC's opposition, however, Hornsby has submitted a supplemental affidavit with exhibit, sworn to April 4, 2025, in which she attests that she is now current in her New York attorney registration requirements. Furthermore, Office of Court Administration records likewise establish that Hornsby has duly registered and cured any preexisting registration delinquency. Accordingly, with AGC voicing no other substantive objection to her application, and having determined that Hornsby is now eligible to resign for nondisciplinary reasons (compare Matter of Tierney, 148 AD3d 1457, 1458 [3d Dept 2017]; Matter of Bomba, 146 AD3d at 1227), we grant the application and accept her resignation.
Garry, P.J., Egan Jr., Pritzker, Lynch and Mackey, JJ., concur.
ORDERED that Abigail Helen Hornsby's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Abigail Helen Hornsby's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Abigail Helen Hornsby is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Hornsby is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Abigail Helen Hornsby shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








